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10 CITY OF SAUSALITO

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12                               UNITED STATES DISTRICT COURT

13                              NORTHERN DISTRICT OF CALIFORNIA

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15 ROBBIE POWELSON,                                   CASE NO.: 3:22-cv-01809-EMC (RMI)

16                 Plaintiff,                         ACTION FILED: March 22, 2022

17          vs.                                       NOTICE OF DEFENDANT’S MOTION
                                                      TO DISMISS
18
     CITY OF SAUSALITO, et al.,                       Date: January 12, 2023
19              Defendant.                            Time: 1:30 PM
                                                      Judge: Hon. Edward Chen
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22          PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Points and

23 Authorities in Support of Defendant’s Motion to Dismiss, and upon all other papers heretofore

24 and herein, the undersigned will respectfully move this court before the Honorable Edward M.

25
     Chen, United States District Judge, on January 12, 2023 at 1:30 PM, at the Court of the United
26
     States District Court for the Northern District of California, 450 Golden Gate Ave., San
27
     Francisco, California 94102, Courtroom 5-17th Floor, for an Order pursuant to Rule 12 of the
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                                                      1
      NOTICE OF DEFENDANT’S MOTION TO DISMISS
           Case 3:22-cv-01809-EMC Document 80 Filed 12/02/22 Page 2 of 2




     Federal Rules of Civil Procedure, granting Defendant’s motion to dismiss, and for any other relief
1

2 the Court deems proper.

3           PLEASE TAKE FURTHER NOTICE that, upon the accompanying Memorandum of

4 Points and Authorities in Support of Defendant’s Motion to Dismiss, and upon all other papers

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     heretofore had herein, the undersigned will respectfully request the court to find that Plaintiff is
6
     a vexatious litigant pursuant to the All Writs Act, 28 U.S.C. §1651(a).
7

8
     Dated: December 2, 2022                       ____________________________________
9                                                  Arthur Gaus, Esq.
10                                                 Julianna Bramwell, Esq.
                                                   Attorneys for Defendant
11                                                 CITY OF SAUSALITO
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       NOTICE OF DEFENDANT’S MOTION TO DISMISS
